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                   UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 In re Application of

 iFinex Inc.                                    Civil Action No.:

        Applicant,

 For the Issuance of a Subpoena for the
 Taking of a Deposition and the
 Production of Documents for use in a
 Foreign Proceeding Pursuant to 28 U.S.C.
 § 1782


 APPLICATION TO CONDUCT DISCOVERY PURSUANT TO 28 U.S.C. §
       1782 MEMORANDUM OF POINTS AND AUTHORITIES

       iFinex Inc. (“Applicant”) by and through its undersigned counsel, the Law

Offices of Michael Jason Lee, APLC, hereby brings the instant Application for the

Issuance of a Subpoena for the Taking of a Deposition and Production of

Documents for use in a Foreign Proceeding Pursuant to 28 U.S.C. § 1782

(“Application”) for the entry of an order from this Court allowing Applicant to take

the deposition testimony of SunTrust Bank (“SunTrust”), and to obtain documents.

This Application is supported by the Declaration of Giancarlo Devasini (“Devasini

Declaration”), who is the Chief Financial Officer for iFinex Inc.

       Accordingly, Applicant respectfully requests that this Application is granted

in its entirety.


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Dated: April 10, 2020              FRIED & BONDER, LLC

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            MEMORANDUM OF POINTS AND AUTHORITIES

      I.     INTRODUCTION

      Applicant iFinex Inc. (“iFinex” or “Applicant”) seeks the assistance of this

Court in obtaining discovery for use in foreign proceedings both currently ongoing

and contemplated in Poland, Portugal, and the United Kingdom. In those

proceedings, Applicant seeks to recover approximately $880,000,000 of funds

which it had entrusted to an entity named Global Trade Solutions AG (“Global

Trade”), doing business as “Crypto Capital.”

      Since 2014, but primarily in 2017-2018, Crypto Capital provided services as

a payment processor to Applicant, transferring funds to and from Applicant and its

customers. Since no later than December 2018, however, Crypto Capital has failed

and refused to remit funds, claiming that its bank accounts located in Poland,

Portugal, the United Kingdom, and the United States had been seized or frozen by

various governmental authorities in each jurisdiction.

      For this reason, Applicant (1) filed a claim with the National Prosecutor’s

Office in Poland seeking to recover funds in proceedings currently ongoing before

that body; (2) filed an application for protective order with the Court of Cascais in

the Judicial Court of Western Lisbon (“Court of Cascais”) to prevent the dissipation

of certain funds held in Portugal; (3) intends to initiate a legal suit for recovery of



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those funds before the same court; (4) filed a “Norwich Pharmacal” disclosure

request with the Business and Property Courts of England and Wales concerning

certain bank accounts in the United Kingdom; and, (5) intends to initiate a legal suit

for recovery of funds in those accounts before the High Court of Justice in London,

United Kingdom.

      For this reason, Applicant (1) filed a claim with the National Prosecutor’s

Office in Poland seeking to recover funds in proceedings currently ongoing before

that body; (2) filed an application for protective order with the Court of Cascais in

the Judicial Court of Western Lisbon (“Court of Cascais”) against Global Trade and

two associated companies to prevent the dissipation of certain funds held in

Portugal; (3) filed a separate application for protective order with the Court of

Cascais against the individuals occupying leadership positions in Global Trade and

the two other companies; (4) intends to initiate a legal suit for recovery of those

funds before the same court; and (5) intends to initiate a legal suit for recovery of

funds in those accounts before the High Court of Justice in London, United

Kingdom.

      Crypto Capital used a bank account with Citibank, N.A. (“Citibank”) to

accept certain deposits from Applicant’s customers. The account was held in the

name of “Global Trading Solutions, LLC.” Applicant has obtained information and

documents from Citibank pursuant to Section 1782 discovery authorized by the



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Central District of California. According to those records, $380,000 of Applicant’s

customer funds were transferred from an associated Citibank account to an account

held with SunTrust Bank (“SunTrust”), the subject of the instant Application.

      Through the instant Application, iFinex seeks the aid of this Court in taking

discovery from SunTrust concerning these accounts, any related accounts, their

ownership, communications with individuals associated with the accounts, and

similar information. Applicant seeks this information for use in the foreign

proceedings identified above, in which Applicant seeks to substantiate its claims to

hundreds of millions of dollars.

      II.    STATEMENT OF FACTS

      A.     iFinex’s Businesses

      iFinex operates a leading global virtual currency platform operating under

the brand and trade name of Bitfinex, specifically, on and through

www.bitfinex.com. (Declaration of Giancarlo Devasini (“Devasini Decl.”) ¶ 2.)

Bitfinex provides a technology platform for customers—both business and

individuals—to engage in the trade of digital tokens (e.g., bitcoin and Ethereum)

using U.S. dollars, Euros, British pounds, and/or Japanese yen. (Id.)

      Before using Bitfinex’s platform, customers must enter into a contract with

Bitfinex agreeing to their terms of service, which are publicly available on

Applicant’s website. (Devasini Decl. ¶ 3.) Customers wishing to deposit fiat



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currency—such as U.S. dollars, Euros, British pounds or Japanese yen—on the

platform must go through an extensive due diligence process. (Id.) Applicant also

has in place standards to monitor transactions, assess risks, and file Suspicious

Activity Reports (commonly referred to as a SAR) and other reports required by

applicable law. (Id.)

      Customers who want to purchase virtual currency through Bitfinex using fiat

currency must first deposit their funds into their Bitfinex account. (Devasini Decl.

¶ 4.) Once fiat is deposited, they may trade those funds for digital tokens with other

users. They may then withdraw those digital tokens. They may, alternately,

withdraw unused fiat currency from Bitfinex or fiat currency that is the proceeds

from future trading. (Id.)

      For these platforms to work, customers depend on Applicant’s ability to

receive and send fiat currency. This concept is similar, but not the same, to a

customer of a U.S. financial institution having access to her money from a branch,

on demand. (Id. ¶ 5.)

      Until early 2017, customers who sought to deposit fiat currency into their

Bitfinex account could do so by interbank wire transfer, transferring funds from

their own bank accounts into certain bank accounts held by iFinex in Taiwan. In

early 2017, however, certain U.S. banks successfully pressured Applicant’s

Taiwanese banks into discontinuing this arrangement. (Devasini Decl. ¶ 6.)



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      Without a readily available banking solution, iFinex turned to a third-party

payment processor doing business as “Crypto Capital.” 1 (Devasini Decl. ¶ 7.)

      B.     Applicant’s Agreement with Crypto Capital

      Crypto Capital markets itself as enabling its customers to deposit and

withdraw fiat funds instantly to certain virtual currency exchanges including, at the

time, Bitfinex. (Devasini Decl. ¶ 8.) In late 2014, Crypto Capital agreed to act as a

payment processor 2 for the Bitfinex exchange, although the large majority of

processing activity did not commence until 2017. That is, when Bitfinex customers

sought to deposit fiat currency into their Bitfinex accounts, Bitfinex would provide

customers with banking details to which the deposits were to be remitted by bank

wire, as well as certain identifiers to include in the wire details. Crypto Capital

represented that the accounts receiving customer deposits were owned and operated

by Crypto Capital or its related entities. (Id.)

      Once Crypto Capital received funds transmitted, it would use the identifier

to allocate deposits to a Bitfinex account and communicate receipt of the deposit to


1
 In early 2017, according to its website, Crypto Capital was owned and operated by
a Panamanian entity named Crypto Capital Corp that has since been dissolved (in
June 2018). Sometime in 2018, Crypto Capital began holding itself out, including
on its website www.cryptocapital.co, as being owned by a Swiss entity named
Global Trade Solutions AG. For purposes of clarity, Applicant will refer to the
company as “Crypto Capital.”
2
  Broadly speaking, a “payment processor” is a third party that facilitates financial
transactions between parties.

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Bitfinex. (Devasini Decl. ¶ 9.) Generally, Bitfinex would log onto the Crypto

Capital platform to confirm that the wire was received and approve the deposit

receipt. At that point, the funds were made available to the Bitfinex customer on the

Bitfinex platform. Pursuant to the parties’ agreement, Crypto Capital would hold

these funds on behalf of Bitfinex, but would also transfer funds to Bitfinex on

demand. (Id.)

      Customer withdrawals processed by Crypto Capital were handled similarly.

(Devasini Decl. ¶ 10.) A Bitfinex customer would submit a withdrawal request to

Bitfinex. Bitfinex would log onto the Crypto Capital platform and fill in the

beneficiary details provided by the customer. Bitfinex would then approve the

withdrawal request and Crypto Capital would settle the withdrawal by remitting the

funds to the Bitfinex customer from a bank account owned by Crypto Capital. (Id.)

      As part of the parties’ agreement, besides a nominal fee for each deposit or

withdrawal, Crypto Capital charged no fee for these services to iFinex because it

was able to earn substantial interest on the funds it held on Applicant’s behalf in its

accounts. (Devasini Decl. ¶ 11.)

      C.     Applicant Begins to Discover Crypto Capital’s Malfeasance

      From early 2017 through late 2018, Bitfinex customers transferred more than

$1.5 billion to various bank accounts purportedly held or controlled by Crypto

Capital. (Devasini Decl. ¶ 12.) By July 2018, the amount Crypto Capital held and



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owed to Applicant exceeded $1 billion. The reason for this large balance was largely

two-fold: (1) an increasing interest in virtual currency trading and investment,

leading to increasing amounts being transferred by Applicant’s customers; and (2)

institutional constraints on the amount of funds that could be transferred between

Crypto Capital accounts and Applicant’s bank accounts. (Id.)

        During this time, Applicant’s relationship with Crypto Capital generally

operated well. (Devasini Decl. ¶ 13.) In or about March or April 2018, however,

Applicant learned from news reports that Crypto Capital funds had been seized by

authorities in Poland as part of an investigation into potential money-laundering. At

the time, Crypto Capital acknowledged that its Polish bank accounts had been

frozen, but claimed that none of Applicant’s funds were affected by these actions.

(Id.)

        In or about late August 2018, however, Crypto Capital began representing

that approximately $500 million of Applicant’s funds in both Poland and Portugal

were being “held up” by regulators in both countries. (Devasini Decl. ¶ 14.) From

then through November 2018, one of Crypto Capital’s principals, Oz “Joseph,” 3

repeatedly reassured Applicant that its funds held in Poland and Portugal were on




3
  In 2019, Applicant subsequently learned that Mr. Joseph’s last name was actually
“Yosef.” During Applicant’s relationship with Crypto Capital, however, Yosef
represented—both orally and in writing—that his name to was “Joseph.”

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the verge of being released and that Crypto Capital was working diligently with

local authorities to secure their release. (Id.)

       In response to increasing pressure from Applicant and their attorneys for

specific information concerning the banking accounts that had been purportedly

frozen, Crypto Capital began providing additional information in the latter part of

2018. (Devasini Decl. ¶ 15.)

       D.     Current, Ongoing Foreign Proceedings

       According to Crypto Capital: approximately $355,000,000 of Applicant’s

funds are being held in various currencies that were on deposit in accounts at Bank

Spoldzielczy in Skierniewice, Poland. According to Crypto Capital, approximately

$218,000,000 of Plaintiffs’ funds are being held in various currencies in accounts

at three separate Portuguese banks: Banco Português de Investimento (“Banco

BPI”), Bankinter, S.A. (“Banco BIC”), and Caixa Geral de Depositos S.A.

(Devasini Decl. ¶ 16.)

       Since these and other subsequent disclosures, as well their own further

investigation, Applicant has been able to confirm that the National Prosecutor’s

Office in Poland has seized certain funds held by Crypto Capital in Bank

Spoldzielczy. (Devasini Decl. ¶ 17.) Applicant has filed a claim with the

Prosecutor’s Office as an “Injured Party” seeking to recover funds that Crypto

Capital held in Poland on their behalf. (Id.) Applicant also filed a civil claim against



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a Polish entity affiliated with Crypto Capital that was the authorized holder of the

accounts at issue located in Poland. Additionally, Applicant filed two criminal

notifications against the representatives of the Polish entity affiliated with Crypto

Capital concerning fraud and appropriation. (Id.)

      With respect to the funds held in the Portuguese banks identified above,

Applicant has filed an application for a protective order with the Court of Cascais

against Global Trade and two other companies (Eligibility Criterion and MOGW)

to prevent the dissipation of funds held with Caixa Geral de Depósitos, Banco BPI

and Banco BIC. Applicant has also filed a separate application for protective order

with the Court of Cascais against the principals of Global Trade and the two other

companies. Applicant intends to initiate a legal suit for recovery of those funds with

the same court. (Devasini Decl. ¶ 18.)

      Applicant has also learned that Crypto Capital maintained accounts with

HSBC Bank PLC (“HSBC UK”) in the United Kingdom. Applicant anticipates

bringing a subsequent suit in the United Kingdom in order to recover the funds.

(Devasini Decl. ¶ 19.)

      To Applicant’s understanding, however, Crypto Capital did not simply

receive customer deposits into its various banking accounts and maintain those

deposits with the initial bank receiving those funds. Rather, Crypto Capital

subsequently transferred funds between and among various banks, including in



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Europe and the United States. In the U.S. alone, Applicant has information that

Crypto Capital used accounts held not only at SunTrust, but also Bank of America,

Bank of Colorado, Citibank, Enterprise Bank & Trust, HSBC, Stearns Bank, Wells

Fargo, TD Bank, and US Bank. (Devasini Decl. ¶ 20.)

      Thus, in order to demonstrate Applicant’s ownership of and entitlement to

the various funds held in Poland, Portugal, and the United Kingdom, Applicant must

be able to trace the funds deposited by its customers through the fund transfers

between and among the various banking accounts operated or used by Crypto

Capital. Applicant also seeks information regarding the ownership and use of the

accounts at issue, as well as communications between the banks and account holders

and/or their representatives. (Devasini Decl. ¶ 24.)

      E.     Crypto Capital’s Use of Citibank Banking Accounts

      From approximately April to June 2018, Crypto Capital used a bank account

ending in -9503 with Citibank to accept deposits from Applicant’s customers.

(Devasini Decl. ¶ 22.) The account was held in the name of Global Trading

Solutions, LLC. Because the name of this LLC was similar to that of the entity that

then owned Crypto Capital (Global Trade Solutions AG), Applicant believed the

LLC to be an entity related to Crypto Capital. (Id.)

      Since December 2018, Applicant has subsequently learned that Global

Trading Solutions, LLC is wholly owned by an individual named Reginald Dennis



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Fowler. Prior to December 2018, Crypto Capital had never revealed Mr. Fowler’s

involvement in its operations and only admitted as much in or about late December

2018 and thereafter. (Devasini Decl. ¶ 23.)

      According to information and documents obtained from Citibank pursuant to

Section 1782 discovery authorized by the Central District of California, iFinex has

learned the following: In March 2018, Fowler opened a separate, personal Citibank

banking account ending in -9061. This account, however, was funded by an initial

$200,000 deposit from an unknown source, and two subsequent wire transfers

totaling $4,000,000.

      The wire transfers originated from Banco BPI, which is one of the three

Portuguese banks Crypto Capital acknowledged using to hold Applicant’s customer

funds, and which is subject to Applicant’s recovery efforts as explained in Section

II.D, above. According to the wire transfer information, the entity initiating these

transfers was Eligibility Criterion, an entity which Fowler owns or controls. As is

relevant here, in early May 2018, Fowler transferred $380,000 of these funds from

the Citibank -9061 account to a SunTrust account ending in -5498. Further,

according to other information received from Citibank, Fowler also owns or

controls at least one other separate SunTrust account ending in -4251.

      III.   THE CONTEMPLATED DISCOVERY

      The contemplated discovery is narrowly tailored to the facts and



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circumstances      surrounding    the   SunTrust’s   involvement—knowingly           or

otherwise—in the events described in Section II, above. Applicant seeks the

production of documents and the testimony of SunTrust concerning the accounts

used by the following entities and individuals to transfer and hold funds belonging

to Applicant, any transfers of funds to or from those accounts, the manner in which

Applicant’s funds were used, the current location of Applicant’s funds, as well as

communications with Crypto Capital or its various affiliated entities and

individuals:

      •        Crypto Capital Corp, a now-dissolved Panamanian entity that

previously owned and operated the www.cryptocapital.co website.

      •        Global Trade Solutions AG, a Swiss entity that now owns and operates

the www.cryptocaptital.co website.

      •        Ivan Manuel Molina Lee, one of Crypto Capital’s principals. Mr.

Molina is also a registered director of Global Trade Solutions AG.

      •        Ozzie Yosef a/k/a Ozzie Joseph, one of Crypto Capital’s principals.

      •        Ravid Yosef, Mr. Yosef’s sister. According to an April 2019

indictment brought by the U.S. Attorney for the Southern District of New York, Ms.

Yosef opened and used numerous accounts at FDIC insured banks in order to

provide banking services to cryptocurrency exchanges like Bitfinex. In doing so,




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the indictment alleges that Ms. Yosef falsely represented that the accounts would

be used for real estate investment transactions.

      •      Reginald Dennis Fowler, an individual who provided Crypto Capital

access to various banking accounts in Europe and the United States through various

entities which he owned or controlled. Prior to December 2018, Crypto Capital had

never revealed Mr. Fowler’s involvement in its operations and only admitted as

much in or about late December 2018 and thereafter.

      •      Trent Dennis Fowler, a son of Reginald Dennis Fowler. According to

banking records provided by Crypto Capital to iFinex, Trent Fowler is the registered

account holder for at least one of the accounts used by Crypto Capital to receive

deposits from Bitfinex customers.

      •      Global Trading Solutions, LLC, an entity Crypto Capital used to

receive and disburse iFinex customer deposits. iFinex has subsequently learned that

Global Trade Solutions, LLC is actually wholly owned by Mr. Fowler.

      •      G.T.S. Resources Limited, a United Kingdom entity that, according to

Crypto Capital, is currently holding more than $304,000,000 of iFinex’s funds with

TCA Investment Bancorp & Trust (below). G.T.S. Resources Limited is also

wholly owned by Mr. Fowler. In December 2018—after iFinex learned of Mr.

Fowler’s involvement with Crypto Capital—Mr. Fowler changed the corporate

name of the entity to Spiral Global Development Limited.


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      •      TCA Investment Bancorp & Trust Company, an entity claiming to

hold more than $304,000,000 in funds on behalf of G.T.S. Resources Limited.

Despite its name, however, TCA Investment Bancorp & Trust is not a bank and

appears to have no physical presence. TCA Bancorp is operated by at least four

principals: Katsuyoshi Iwanaga, Diane Fletcher, David Anthony Stafford, and

Rondell Monroe.

      •      Eligibility Criterion and/or Eligibility Criterion Unipessoal LDA, an

entity owned or controlled by Fowler. After receiving iFinex customer funds to the

Citibank account noted above, Fowler caused several millions of dollars of

customer funds to be wire transferred to various banking accounts held in the name

of “Eligibility,” “Eligibility Criterion,” and “Eligibility Criterion Unip LDA.” Each

such transfer included a description as “Intercompany Transfer”.

      •      Spiral Global Development, an entity owned or controlled by Fowler.

Again, after receiving iFinex customer funds to the Citibank account, Fowler

transferred millions of dollars of those funds to at least one Enterprise Bank account

held in the name of Spiral Global Development.

      •      NLE Consulting Group, a Florida entity created in February 2018 and

for which Mr. Fowler is registered as a Vice President. In March 2018, the entity

applied for a fictitious name of “Global Trading Solutions,” a name substantially




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similar to Global Trade Solutions AG, the entity that owns and controls the

cryptocaptial.co website.

      A copy of Applicant’s proposed discovery is attached to the Devasini

Declaration as Exhibit “A”.

      IV.    iFINEX’S LOCATION

      iFinex is incorporated in the British Virgin Islands with its principal place of

business located in the Republic of China (Taiwan). (Devasini Decl. ¶ 2.)

      V.     THE APPLICATION SATISFIES SECTION 1782’S
             REQUIREMENTS

      28 U.S.C. §1782(a) provides:

      The district court of the district in which a person resides or is found

      may order him to give his testimony or statement or to produce a

      document or other thing for use in a proceeding in a foreign or

      international tribunal. The order may be made pursuant to…the

      application of any interested person…

      The fundamental purpose of §1782 is to provide a procedure whereby a

qualified applicant may obtain “federal-court assistance in gathering evidence for

use in foreign tribunals.” Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S.

241, 247 (2004); see Kiobel by Samkalden v. Cravath, Swaine & Moore LLP, 895

F.3d 238, 244 (2nd Cir. 2018). “Any interested person” includes litigants before

foreign or international tribunals, and includes corporate entities as well as natural

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persons. Id. at 256; see Akebia Therapeutics, Inc. v. FibroGen, Inc., 793 F.3d 1108,

1109 (9th Cir. 2015).

      The policy behind §1782 is to “assist foreign tribunals in obtaining relevant

information that the tribunals may find useful, but, for reasons having no bearing

on international comity, they cannot obtain under their own laws.” Id., at 262. The

“prima facie showing mandated by the statute is that the application be made (1)

‘by a foreign or international tribunal’ or ‘any interested person,’ (2) that it be ‘for

use in a proceeding in a foreign or international tribunal,’ and (3) that the person or

entity from whom the discovery is sought be a resident of or be found in the district

in which the application is filed.” In re Bayer AG, 146 F.3d 188, 193 (3d Cir. 1998);

Republic of Kazakstan v. Biedermann Int’l, 168 F.3d 880, 881 (5th Cir. 1999).

      A.     Applicant is an “Interested Person”

      As noted above and in the Devasini Declaration, Applicant is a party to

current foreign proceedings occurring in Poland, Portugal, and the United

Kingdom. As a party in foreign litigation, iFinex satisfies the “interested person”

requirement of Section 1782. See Intel, 542 U.S. at 256 (“No doubt litigants are

included among, and may be the most common example of, the ‘interested

person[s]’ who may invoke Section 1782.”); see also John Deere Ltd. v. Sperry

Corp., 754 F.2d 132 (3d Cir. 1985) (a party to foreign litigation is an interested

person under Section 1782).



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         B.    The Requested Discovery is for Use in Conjunction with
               Proceedings Before Foreign Tribunals

         As discussed above, Applicant seeks discovery from SunTrust: (1) to

establish Applicant’s right to certain funds in proceedings before the National

Prosecutor’s Office in Poland; (2) to establish its right to enjoin the dissipation of

certain funds in Portugal before the Court of Cascais, as well as their right to recover

those funds in a subsequent suit before the same court; and (3) its right to recover

certain funds held by HSBC in the United Kingdom before the High Court of Justice

there.

         While Section 1782 requires that the evidence sought be “for use in a

proceeding in a foreign or international tribunal,” the Supreme Court has rejected

the view that “Section 1782 comes into play only when adjudicative proceedings

are ‘pending’ or ‘imminent.’” Intel, 542 U.S. at 259. Rather, it held that a foreign

proceeding only had to be “within reasonable contemplation.” Id.; see also Mees v.

Buiter, 793 F.3d 291, 299 (2nd Cir. 2015) (rejecting argument that pre-litigation

discovery sought via § 1782 required a showing that applicant could not commence

foreign proceeding absent the discovery sought).

         In deciding whether this requirement of § 1782 is met, the district court should

ask whether “there [is] sufficient indication that a proceeding in court would

eventuate in which the evidence gathered can be weighed impartially.” In re Letter

of Request from Crown Prosecution Serv. Of United Kingdom, 870 F.2d 686, 691

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(D.C. Cir. 1989). Where the applicant sets forth the documents it desires, the

information it expects to find, and the reasons it would use the documents, the court

can reasonably conclude that a foreign proceeding is within reasonable

contemplation. In re Request for Assistance from Ministry of Legal Affairs of

Trinidad & Tobago, 848 F.2d 1151, 1156 (11th Cir. 1988), abrogated on other

grounds by Intel, 542 U.S. 241.

      Here, certain foreign proceedings have commenced, as identified above. The

fact that other contemplated foreign proceedings have not yet commenced, such as

additional proceedings in Poland identified above, is of no moment. Indeed, in Intel,

the Supreme Court held that “Section 1782(a) does not limit the provision of judicial

assistance to pending [or imminent] adjudicative proceedings. 542 U.S. at 258. The

Intel Court held that Section 1782(a) should be read only to require that it be “within

reasonable contemplation” that the evidence sought would be used in a dispositive

proceeding.” Id. (citing In re Crown Prosecution Serv., 870 F.2d 686, 691 (emphasis

added) ); see also In re Letters Rogatory Issued by the National Court of First

Instance in Commercial Matters N.23 of the Federal Capital of the Argentinean

Republic, 144 F.R.D. 272, 277 n. 4 (3d Cir. 1992)(rejecting argument that a

“pending” proceeding is required under Section 1782); In the Matter of the

Application of Oxus Gold PLC For Assistance Before a Foreign Tribunal, 2007 U.S.

Dist. LEXIS 24061, at *18 (D.N.J. April 2, 2007)(requirements of Section1782



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satisfied where applicant alleged that claim would be litigated in “near future).

      Thus, this factor favors granting the requested discovery.

      C.     SunTrust Resides in and Can Be Found in the Northern District
             of Georgia

      SunTrust’s corporate headquarters is located at 303 Peachtreet Street,

Northeast Atlanta, Georgia 30308. Thus, Responding is within this Court’s

jurisdiction and subject to its authority over the requested discovery sought by

Applicant. (See Devasini Decl. ¶ 26.)

      D.     Discretionary Considerations Merit Granting This Application

      In addition, certain discretionary factors that “bear consideration in a ruling

on a §1782 request” also favor granting the instant Application. See, Intel, 542 U.S.

at 264-65. These include:

      (1)    Whether the person from whom discovery is sought is a non-participant

      to the foreign proceeding thereby making the need for the aid more apparent;

      (2)    The nature of the foreign tribunal, the character of the proceedings

      underway abroad, and the receptivity of the foreign government or court

      abroad to federal court judicial assistance;

      (3)    Whether the §1782 application for discovery is an attempt to

      circumvent the foreign proceeding or undermine foreign laws;

      (4)    Whether granting discovery that is narrowly tailored is consistent with

      the aims of the statute to promote efficiency and reciprocity.

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Here, each of these discretionary factors weighs in favor of granting the Application.

      First, Applicant’s need for the discovery from SunTrust by means of §1782(a)

is heightened by the fact that it is not a party to the proceedings currently occurring

or contemplated in Poland, Portugal, or the United Kingdom.

      As the Supreme Court noted: “[a] foreign tribunal has jurisdiction over those

appearing before it, and can itself order them to produce evidence.” Intel, 542 U.S.

at 264-65. As such, relief under §1782(a) may not be warranted where the relevant

tribunal does not need the assistance. Id. In contrast, here, SunTrust possesses

evidence relevant in the foreign proceedings, but will not be a party there. Indeed,

SunTrust will not be brought before any foreign tribunal for the purpose of obtaining

the evidence currently in their possession, nor is the discovery sought from it within

the jurisdictional reach of the courts of Poland, Portugal, or the United Kingdom.

Nonetheless, documents in its possession and its testimony are directly relevant to

Applicant’s claims in Poland, Portugal, and the United Kingdom. This weighs in

favor of granting the Application.

      Second, there is no reason to believe that the National Prosecutor’s Office of

Poland, the Court of Cascais, or the courts of the United Kingdom would be

unreceptive to this Court’s grant of the discovery sought. All three countries are also

parties to the New York Convention. Therefore, there is no reason to believe that

those courts would object to this Court’s assistance with discovery that will, by



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providing information concerning the transfers of Applicant’s funds, facilitate the

foreign proceedings and the potential recovery of those funds.

      Further, the courts have held that the liberal policy of granting assistance

favors allowing a petitioner the discovery sought so that the foreign court itself may

determine the admissibility or relevance of the evidence obtained. See In re

Euromepa S.A., 51 F.3d 1095, 1099-1100 (2d Cir. 1995) (explaining that “a district

court's inquiry into the discoverability of requested materials should consider only

authoritative proof that a foreign tribunal would reject evidence obtained with the

aid of section 1782,” and that “[a]bsent this type of clear directive, however, a

district court's ruling should be informed by section 1782's overarching interest in

‘providing equitable and efficacious procedures for the benefit of tribunals and

litigants involved in litigation with international aspects.’”); In re Application of

Grupo Qummam, No. M 8-85 (DC), 2005 WL 937486, at *3 (S.D.N.Y. Apr. 22,

2005) (“The Mexican court, rather than this Court, should decide whether the

additional evidence is admissible, and it will be in a better position to do so if

Qumma is permitted to conduct the requested discovery first.”).

      Third, the discovery is centrally relevant to the proceedings in Poland,

Portugal, and the United Kingdom, and would not conflict with or circumvent any

foreign proof-gathering restrictions. Courts have interpreted this discretionary factor

as an inquiry into the petitioner's good faith: “[A] district court could consider



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whether the §1782(a) request conceals an attempt to circumvent foreign-proof

gathering restriction or other policies of a foreign country or the United States.”

Intel, 542 U.S. at 264-65; see, also, In re Application of Gemeinschaftspraxis Dr.

Med. Schottdorf, Case No. Ml 9-88, 2006 WL 3844464, at *7 (S.D.N.Y. Dec. 29,

2006). Applicant’s request here is made in good faith and not for purposes of

harassment. See, Brandi-Dohorn v. IKB Deutsch Industriebank AG, 673 F.3d 76, 81

(2d Cir. 2012). Thus, 28 U.S.C. §1782 is a proper and necessary method by which

to obtain the critical evidence sought by Applicant.

      Fourth and finally, any discovery under the subpoenas will not be onerous for

SunTrust. Courts may consider whether the discovery requests under §1782 are

“unduly intrusive or burdensome” and should be “rejected or trimmed.” Intel, 542

U.S. at 265. In this instance, Applicant seeks information and documents from

SunTrust narrowly tailored to information concerning the accounts linked to Crypto

Capital, Global Trade Solutions, LLC, their principals, agents, and related entities.

It is unlikely that such information or documentation would be voluminous or

difficult to search for and produce. Accordingly, this factor also weighs in favor of

granting the instant Application.

      VI.    CONCLUSION

      Based on the foregoing, Applicant respectfully requests that this Court grant

the instant Application in its entirety.



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Respectfully submitted this 10th day of April 2020.

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